Case 1:09-cr-00184-KD-C Document 237 Filed 08/26/10 Page 1 of 2                     PageID #: 706




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA                         )

vs.                                              )    CRIMINAL ACTION 09-00184-KD

TRUONG L. LE,                                    )

       Defendant.                                )

                                             ORDER

       On August 25, 2010, Le appeared before the undersigned. However, Le’s retained

counsel, John Wayne Boone, failed to appear and has been removed from the case. Upon Le’s

establishing to the Court that he qualifies financially for appointment of counsel, the Court

appointed Richard Alexander, a member of this Court’s Criminal Justice Act Panel, to represent

Le.

       This action was heretofore scheduled for jury selection on Monday, August 30, 2010 and

for trial during the September 2010 criminal trial term. However, new counsel will need

additional time to confer with his client, review discovery, and adequately prepare for trial.

       Therefore, the Court finds that Le will not be unduly prejudiced by a continuance to the

next criminal trial term and that Athe ends of justice served by taking such action outweigh the

best interest of the public and the defendant in a speedy trial.@ 18 U.S.C. ' 3161(h)(7)(A); see 18

U.S.C. ' 3161(h)(7)(B)(iv) (requiring consideration of whether failure to grant a continuance

would deny counsel for defendant Areasonable time necessary for effective preparation, taking

into account the exercise of due diligence.@) For purposes of the Speedy Trial Act, any delay

resulting from this continuance is excludable pursuant to 18 U.S.C. ' 3161(h)(7)(A) (excluding

A[a]ny period of delay resulting from a continuance granted by any judge . . . if the judge granted
Case 1:09-cr-00184-KD-C Document 237 Filed 08/26/10 Page 2 of 2                     PageID #: 707




such continuance on the basis of his findings that the ends of justice served by taking such action

outweigh the best interest of the public and the defendant in a speedy trial.@).

        Accordingly, defendant Le having filed a waiver of speedy trial (doc. 234), this action is

CONTINUED to the October 2010 trial term, commencing with jury selection on October 4,

2010.

        The Clerk of the Court is directed to refer this matter to the appropriate Magistrate Judge

to schedule a pre-trial conference.

        DONE and ORDERED this August 26, 2010


                                               s/ Kristi K. DuBose
                                              KRISTI K. DuBOSE
                                              UNITED STATES DISTRICT JUDGE
